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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                :
                                        :           Case No. 21-CR-129 (ABJ)
             v.                         :
                                        :
GABRIEL AUGUSTIN GARCIA,                :
also known as “Gabriel Agustin Garcia,” :
                                        :
                   Defendant.           :

              GOVERNMENT RESPONSE TO COURT’S MINUTE ORDER

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby files this response to the Court’s Minute Order of September 17,

2024.

        The parties conferred by email on Wednesday, September 11, 2024, and the parties

confirmed their mutual understanding that the parties would file sentencing memoranda on

Wednesday, September 18, 2024, which date is one week before the sentencing hearing scheduled

for September 25, 2024. Since the Court’s Minute Order on September 17, the parties have been

in communication via email. In those communications, the government learned yesterday that the

defense intends to move to continue the sentencing hearing. The government awaits the

defendant’s motion. Absent a motion from the defendant and resultant continuance granted by this

Honorable Court, the government is prepared to file its sentencing memorandum on September

20, 2024, and to proceed with sentencing on September 25, 2024.

                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             United States Attorney
                                             D.C. Bar Number 481052

                                     By:     /s/ Jason McCullough
                                             JASON B.A. MCCULLOUGH

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                            /s/ Ashley Akers
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